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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT 0F TENNESSEE __ 7 n _~ _,
WESTERN DIVISION _;J ., di k

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CRAIG WILLIAMS, )
)

Plaintiff, ) No. 04-2337-BAN
)
vs. )
)
QUALITY CARRIERS, INC.; MERE'S )
TRUCKING; and WILLIAM D. CUTRIGHT, )
)
Defendants. )

 

f--[-P-ROPGSED}#\MENDED RULE 16(b)SCHEDULING ORI)ER

 

Pursuant to Order Granting Motion to Continue Trial Setting and 0rder of reference
pursuant to Same, the following are established as amended final dates for:

COMPLETING ALL DISCOVERY:

(a) Requests for Production, Interrogatories,
and Adrnissions: October 12, 2005

(b) Expert Witness Disclosure:
(i) Plaintiffs Experts: February 8, 2006
(ii) Defendants' Experts: February 22, 2006

(iii) Supplernentation under
Rule 26(e): March 8, 2006

(c) Depositions:
(i) Fact Witnesses: January ll, 2006
(ii) Plaintiffs Expert: March 8, 2006

(iii) Dei"endant's Expert: March 22, 2006

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FILING DISPOSITIVE MOTIONS: April l9, 2006

FINAL LIST OF WITNESSES AND EXHIBITS:

(a) for Plaintiff: 45 days before trial
(b) for Defendant: 30 days before trial

lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rules 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter, Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge The parties will file a written consent form with the court should

they decide to proceed before the magistrate judge

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The parties are required to engage in court-annexed attorney mediation or private

mediation on or before the close ofdiscovery.

This order has been entered after consultation With trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this Order will not be modified or

extended

lT lS SO ORDERED.

APPROVED BY:

 

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J'udge S. Thomas Anderson
United States Magistrate Judge

Date: Jz/,{M,/ 922 '_ ¢QGN/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02337 was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

